                Case 19-05205         Doc 40    Filed 08/02/19 Entered 08/05/19 11:40:19                 Desc Main
                                                  Document      Page 1 of 1
                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
                                                       Eastern Division

               In Re:                                          )              BK No.:    19-05205
               Virginia Rojas-Garcia                           )
                                                               )              Chapter: 13
                                                               )
                                                               )              Honorable Pamela S. Hollis
                                                               )
                                Debtor(s)                      )


                                 ORDER ALLOWING CHAPTER 13 COMPENSATION UNDER
                                     COURT-APPROVED RETENTION AGREEMENT
                                        (Use for cases filed on or after April 20, 2015)

                On the application of debtor(s)' counsel for compensation for representing the debtor(s) in this case and
                pursuant to the Court-Approved Retention Agreement executed by debtor(s) and counsel, the court grants
                the application based on its finding that the allowance is reasonable under the provisions of 11 U.S.C. §
                330(a), as follows:

                            $          4,000.00     for legal services through conclusion of the case.
                            $               21.00   for reimbursable expenses.
                            $          4,021.00     total fees and reimbursement allowed.
                           -$                  0    less payment received from debtor before date of application.

                            $          4,021.00     balance allowed and due to the attorney under this order.




                                                                            Enter:


                                                                                     Honorable Pamela S. Hollis
               Dated: August 02, 2019                                                United States Bankruptcy Judge



               Fees Payable to:
               David M. Siegel




Rev: 4/21/15                                                                                        Local Bankruptcy Form 23-3
